
Per Curiam.
The defendant, as owner of the tenement 52 Amsterdam avenue, was sued by his tenant, the plaintiff, for injuries alleged to have been received by tripping on the stairway, and falling down staiis. The ground of action was negligence by reason of defects said to exist in the oilcloth covering. All the questions tending to create a liability were disputed, and the case was carefully submitted to the jury, who found in favor of the defendant. This finding was made on conflicting evidence, and is amply sustained by the proofs. Indeed, the only ground upon which the judgment is assailed is for alleged error in admitting evidence under the plaintiff’s objection. We have carefully examined the exceptions taken, and find them to be without merit. They require neither comment nor explanation. It follows that the judgment and order appealed from must be affirmed, with costs.
